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                                                                            FarThe Northern Mariana Islands
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               6
                                    IN THE UNITED STATES DISTRICT COURT
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               8
                                       FOR THE NORTHERN MARIANA ISLANDS

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               10
                    MOHAMMAD FEROJ AHMED                )     Civil No. 09-0026
               11                                       )
               12                       Plaintiff       )
                                                        )
               13                 V.                    )     ORDER APPROVING
                                                        )     FIRST STIPULATION
               14
                    GREGORY BAICA, Acting Attorney )          TO EXTEND TIME
               15   General, and MELVIN GREY,           )
               16
                    Director of Immigration, in their   )
                    official and individual capacities, )
               17                                       1
               18
                                        Defendants      )

               19
                          BASED UPON the stipulation of plaintiff and defendants, and good cause
               2c

               21   appearing therefrom; NOW, THEREFORE,
               29
                          IT IS ORDERED that the stipulation by and between plaintiff and defendants
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                    be and hereby is approved, and defendants shall have until 3:30 p.m., Monday,
               24

               2E   September 21,2009, to file an answer or other responsive pleading.
               2E


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(Rev. 08/82)
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                               The court stands ready to assist the parties in settlement negotiations, should

                         they feel the court’s efforts would be useful.

                               DATED t h s 17th day of September, 2009.


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                                                                          ALEX R. MUNSON
                     c
                                                                              Judge
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